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            IN THE UNITED STATES DISTRICT COURT
            FOR THE SOUTHERN DISTRICT OF TEXAS
                     HOUSTON DIVISION

RICK RHOADES,                    §
                                 §
               Plaintiff,        §
                                 §
                                 §
          -VS-                   §            CIVIL NO. 4:21-cv-02422
                                 §               *CAPITAL CASE*
                                 §
                                 §
HON. ANA MARTINEZ,               §
               Defendant.        §
                                 §
__________________________________

                 PLAINTIFF’S COMPLAINT FILED
                  PURSUANT TO 42 U.S.C. § 1983

             Mr. Rhoades is scheduled to be executed
              on September 28, 2021, after 6:00 pm.


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            IN THE UNITED STATES DISTRICT COURT
            FOR THE SOUTHERN DISTRICT OF TEXAS
                     HOUSTON DIVISION

RICK RHOADES,                    §
                                 §
               Plaintiff,        §
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          -VS-                   §            CIVIL NO. 4:21-cv-02422
                                 §               *CAPITAL CASE*
                                 §
                                 §
HON. ANA MARTINEZ,               §
               Defendants.       §
                                 §
__________________________________


                 PLAINTIFF’S COMPLAINT FILED
                  PURSUANT TO 42 U.S.C. § 1983.

                              Introduction

     1.    Plaintiff Rick Rhoades is scheduled to be executed by the

State of Texas on September 28, 2021. The State intends to carry out

this sentence in spite of the fact that Rhoades has been unable to

investigate, develop, or properly raise to any court his claim pursuant to

Batson v. Kentucky, 476 U.S. 79 (1986). He has been prevented from

developing and raising his claim because the State has denied him

access to the materials provided for by state law—materials which are



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necessary to conduct the comparative juror analysis required by Miller-

El v. Dretke, 545 U.S. 231 (2005). Rhoades has therefore been unable to

provide any court with these materials, or even to see them for himself.

     2.    An Assistant District Attorney for Harris County, Texas

acknowledged his office possesses of a copy of these materials. He has

indicated he will make them available to Undersigned Counsel only

when ordered to do so by the Defendant, the state trial court (i.e., the

Hon. Ana Martinez). The district attorney has indicated he believes he

may release this information to Rhoades’ attorneys only when ordered

to do so in connection with a motion filed by Rhoades under Texas Code

of Criminal Procedure Article 35.29. Rhoades has filed such a motion,

which provides someone in Rhoades’ position may obtain juror

information contained in the juror questionnaires and cards developed

at trial upon a showing of good cause.

     3.    Accordingly, through counsel, Rhoades asked Judge

Martinez to find there was good cause for the District Attorney’s office

to release the juror information to the undersigned. Notwithstanding

the clear language of article 35.29, and notwithstanding that

individuals in Rhoades’ position commonly file actions under 35.29 that



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are ruled on by the trial court, Judge Martinez refused to address the

merits of the motion and determine whether Rhoades had shown good

cause, thereby entitling him to the information under state law.

     4.    As further provided by state law, Rhoades, acting through

counsel, sought mandamus relief in the Texas Court of Criminal

Appeals (“CCA”). Specifically, Rhoades asked the CCA to require that

Judge Martinez determine whether good cause exists for Rhoades to

have access to the juror information. With four judges dissenting, the

CCA denied Rhoades leave to file the petition for writ of mandamus.

     5.    By failing to give Rhoades what he is due under state law—

i.e., a chance to prove there is good cause for him to have access to the

materials needed to develop a claim pursuant to Batson—Judge

Martinez has violated Rhoades’ Fourteenth Amendment right to due

process. Further, by failing to give Rhoades what others who are

similarly situated have received, Judge Martinez violated Rhoades’

Fourteenth Amendment right to equal protection.

     6.    By seeking the relief prescribed by state law, i.e., a petition

for writ of mandamus in the CCA, Rhoades has exhausted his state

avenues for relief.



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     7.    Rhoades requests this Court issue an order declaring that

Defendant’s actions have violated his right to due process and equal

protection, and that Rhoades is entitled to a decision regarding whether

there is good cause for the juror information to be disclosed to him.

Alternatively, Rhoades requests this Court hold that the U.S.

Constitution requires that Rhoades be given access to the juror

information so that he can develop his claim under Batson in

accordance with the procedures endorsed by the Supreme Court in

Miller-El II.

                               Jurisdiction

     8.    This court has jurisdiction under 28 U.S.C. §§ 1331, 1343,

1651, 2201, and 2202, and under 42 U.S.C. § 1983.

     9.    The confidential juror information Rhoades seeks is essential

to developing his claim under Batson and could demonstrate his right

under Batson was violated, which would mean his conviction and death

sentence are constitutionally infirm. Because, however, Rhoades does

not seek in the present action to determine his Batson right was

violated, and because success in this action alone is therefore not

capable of demonstrating Rhoades’s conviction is invalid, this action is



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properly brought pursuant to section 1983. Heck v. Humphrey, 512 U.S.

477, 487 (1994).

                                 Venue

     10.    Venue lies in this Court under 28 U.S.C. § 1391 because the

Defendant resides in the Southern District of Texas.

                                 Parties

     11.    Plaintiff Rhoades is currently incarcerated, under a sentence

of death imposed by the 179th District Court of Harris County, at the

Polunsky Unit of the Texas Department of Criminal Justice –

Correctional Institutions Division at Huntsville, Texas. He is scheduled

to be executed on September 28, 2021.

     12.    Defendant Ana Martinez is the presiding judge of the 179th

District Court of Harris County. She is being sued in her official

capacity.

                          Procedural history

     13.    Rhoades was convicted of capital murder and sentenced to

death in the 179th District Court on October 8, 1992.

     14.    On September 1, 1996, Rhoades filed his direct appeal in the

Court of Criminal Appeals (“CCA”), in which he raised, inter alia, a



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claim pursuant to Batson v. Kentucky, 476 U.S. 79 (1986). Appellant’s

Br. 33-44, Rhoades v. State, No. AP-71,595 (Tex. Crim. App. Sept. 1,

1996).

     15.   In his Batson claim, Rhoades argued that the State’s use of

peremptory strikes against Berniece Holiday and Gregory Randle were

racially motivated and that the State had failed to articulate

sufficiently race-neutral reasons for the exercise of the strikes. Id.

     16.   On October 2, 1996, the CCA denied Rhoades relief, holding

that the race-neutral reasons the State had provided were sufficient for

the court to feel comfortable that a mistake had not been committed.

Rhoades v. State, 934 S.W.2d 113, 124-25 (Tex. Crim. App. 1996). The

Court did not compare the answers given by these jurors to the answers

of potential jurors whom the State did not exercise challenges to

remove. The CCA decision antedated the Supreme Court’s decision in

Miller-El II, which specifically held that a comparative analysis is

necessary to resolving a claim under Batson.

     17.   On March 31, 2015, Rhoades filed his federal habeas petition

in this Court, raising, inter alia, a claim pursuant to Batson. Pet. Writ




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Habeas Corpus 47-56, Rhoades v. Stephens, No. 4:14-cv-03152 (S.D.

Tex. Mar. 31, 2015), ECF No. 13.

     18.   To have properly resolved the merits of Rhoades’ Batson

claim, this Court should have compared the jurors who had been struck

by the prosecution to the other jurors who had not, but this comparison

was not possible because the record did not contain the necessary jury

information, including the juror cards and questionnaires at issue in

this Complaint.

     19.   On July 21, 2016, this Court denied Rhoades relief and

granted Respondent’s Motion for Summary Judgment, writing that

Rhoades had not shown that the state court’s assessment of the State’s

peremptory challenges used to remove Holiday and Randle from the

pool was unreasonable. Rhoades v. Davis, No. 4:14-cv-03152, 2016 WL

8943327, at *18-20 (S.D. Tex. July 20, 2016).

     20.   On November 18, 2016, Rhoades filed an application for a

certificate of appealability (“COA”) in the United States Court of

Appeals for the Fifth Circuit.

     21.   On December 7, 2016, the Fifth Circuit appointed

undersigned attorney Dow to represent Rhoades. Until that day,



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neither of the attorneys who currently represent Rhoades had

represented him in any proceeding.

     22.   The Fifth Circuit granted Rhoades a COA on his Batson

claim (and other claims) on March 27, 2017. Rhoades v. Davis, 852 F.3d

422, 435-36 (5th Cir. 2017).

     23.   Rhoades subsequently filed his appellate brief in the court of

appeals on May 8, 2017. Pet’r-Appellant’s Br., Rhoades v. Davis, No. 16-

70021 (5th Cir. May 8, 2017).

     24.   On January 28, 2019, the Fifth Circuit affirmed this Court’s

decision denying Rhoades relief, writing that the state court’s decision

regarding Rhoades’ Batson claim was not unreasonable, largely because

Rhoades was not able to present a thorough juror comparison (because

the record did not contain the juror cards and questionnaires). Rhoades

v. Davis, 914 F.3d 357, 383 (5th Cir. 2019).

     25.   On October 7, 2019, the Supreme Court denied Rhoades’

Petition for a Writ of Certiorari. Rhoades v. Davis, 140 S. Ct. 166

(2019).




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     26.     On January 21, 2021, the district attorney’s office indicated

it intended to ask the state trial court to enter an order scheduling

Rhoades’ execution.

     27.     On February 3, 2021, Counsel sent an email to the Assistant

District Attorney, asking whether his office had maintained copies of

the juror questionnaires and cards from Rhoades’ 1992 trial.

     28.     On February 24, 2021, that attorney informed the

undersigned that the district attorney’s office had maintained a copy of

the juror cards and some of the questionnaires from Rhoades’ 1992 trial;

however, that attorney also informed Counsel he would make the juror

information available to Rhoades’ attorneys only pursuant to a motion

filed by Rhoades under article 35.29 of the Texas Code of Criminal

Procedure.

     29.     Accordingly, on March 10, 2021, Mr. Rhoades filed a motion

pursuant to article 35.29, asking Judge Martinez to find good cause

existed for his attorneys to be granted access to the information. Mot.

for Release Conf. Juror Info., State v. Rhoades, No. 0612408 (179th Dist.

Ct., Harris County, Tex. Mar. 10, 2021).




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     30.   Judge Martinez, however, did not issue an order on the

motion resolving the question of whether Mr. Rhoades had

demonstrated good cause. Instead, on March 17, the judge stated that

she believed she lacked jurisdiction to consider the motion. Exhibit 1

(Transcript of March 17, 2021 hearing) at 16 (“you will have to file the

proper vehicle to get this before the Court and at that moment, the

Court will at least give you the juror cards redacted if you want to argue

on the work product issue”).

     31.   It is clear—and indeed the district attorney has not

disputed—that, under state law, the motion Counsel filed was precisely

the correct vehicle by which to ask for access to the juror information.

See, e.g., Green v. State, No. AP-77,088, 2020 WL 1540426, at *1 (Tex.

Crim. App. Mar. 30, 2020) (“Appellant should first present his request

for the disclosure of this information to the trial court”); Gonzalez v.

State, No. AP-77, 066, 2017 WL 782735, at *1 (Tex. Crim. App. Mar. 1,

2017) (same); see also In re Rhoades, No. WR-78,124-02, 2021 WL

2964454, at *1 (Tex. Crim. App. July 14, 2021) (Yeary, J., dissenting)

(“This Court has held that a party seeking a good-cause disclosure




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should present his request under the statute in the first instance to the

convicting court.”).

     32.   On March 25, Counsel filed a motion asking Judge Martinez

to reconsider her March 17 ruling. Mot. Recons., State v. Rhoades, No.

0612408 (179th Dist. Ct., Harris County, Tex. Mar. 25, 2021).

     33.   The trial court convened a hearing on March 26. At this

hearing, the district attorney did not contest Rhoades’ argument that

Judge Martinez had jurisdiction to act under article 35.29.

Nevertheless, Judge Martinez again stated she believed she did not

have jurisdiction to issue an order on the merits of Mr. Rhoades’ motion

raised pursuant to article 35.29. Exhibit 2 (Transcript of March 26,

2021 hearing) at 3-4 (“It is the Court’s ruling that the Court does not

have jurisdiction to make that determination on that matter and it is

the Court’s ruling today that the Court does not have jurisdiction to

reconsider such request.”).

     34.   Believing Rhoades was entitled to a decision from the trial

court on whether he had shown good cause for access to the juror

information and that the trial court, in fact, had a ministerial duty to

enter such an order, on April 26, 2021, Counsel sought relief from the



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Texas Court of Criminal Appeals, by filing a motion for leave to file a

petition for a writ of mandamus. Mandamus is the mechanism provided

for by state law to address a trial court’s action pursuant to article

35.29. Falcon v. State, 879 S.W.2d 249, 250 (Tex. App.—Hous. [1st

Dist.] 1994, no pet.). In numerous cases, appellate courts have granted

leave to file and subsequently addressed the merits of petitions for writs

of mandamus contesting a trial court’s decision pursuant to article

35.29. See, e.g., In re Middleton, No. 04-15-00062-CR, 2015 WL 1004233

(Tex. App.—San Antonio Mar. 4, 2015, orig. proceeding); In re Powell,

No. 2-07-102-CV, 2007 WL 1649661 (Tex. App.—Fort Worth June 7,

2007, orig. proceeding); see also In re Green, No. WR-62,574-05, 2015

WL 5076812, at *1 (Tex. Crim. App. Aug. 26, 2015) (ordering

Respondent to reply to mandamus petition and holding it in abeyance

pending response).

     35.   Specifically, Rhoades’ petition asked the CCA to order the

trial court to reach the merits of Rhoades’ motion for access to the juror

information and determine whether he had presented good cause for

such access.




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     36.   On July 14, 2021, the CCA denied the motion for leave to file

the petition without explanation. Four of the court’s nine judges

dissented from this decision.

     37.   In his dissenting opinion, which was joined by Judge

Richardson, Judge Newell indicated he believed the prudent course

would have been to ask the judge why she did not believe she had the

authority to rule on Rhoades’ motion.

     38.   In his dissenting opinion, which was joined by Judge Walker,

Judge Yeary indicated he believed that Judge Martinez’s opinion that

she did not have jurisdiction to rule on Rhoades motion seemed

inconsistent with orders in other cases issued by the CCA. Rhoades,

2021 WL 2964454 at *1 (Yeary, J. dissenting). Judge Yeary indicated he

believed the trial court had a ministerial duty to act on Rhoades’ motion

and wrote the court “should either grant leave to file the application

and order the convicting court to render a ruling, or at least file and set

the matter for a determination whether the convicting court is correct to

conclude it presently lacks jurisdiction over the motion.” Id.




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Defendant’s actions have violated Rhoades’ rights under the
Due Process and Equal Protection clauses with the
consequence he has been deprived of a full and fair opportunity
to develop his claim pursuant to Batson v. Kentucky.

     39.   As explained in greater detail above, on direct appeal,

Rhoades raised a claim pursuant to Batson, complaining that two

members of his venire—i.e., Berniece Holiday and Gregory Randle—had

been wrongly excluded on the basis of their race.

     40.   In October 1996, the CCA denied Mr. Rhoades relief on these

claims (and all the other claims raised on direct appeal) and affirmed

Rhoades’ conviction and sentence.

     41.   The CCA simply determined it believed the race-neutral

explanations given by the State were “not whimsical” and on that basis

denied Rhoades relief. Rhoades, 934 S.W.2d at 124-25.

     42.   There is no evidence in the opinion, issued almost nine years

before the Supreme Court handed down its opinion in Miller-El v.

Dretke, 545 U.S. 231 (2005) (Miller-El II), that the CCA made any

attempt to compare the questioning of these jurors with that of the

others. In Miller-El II, however, the Supreme Court made clear that, in

the typical case raising a Batson claim, a proper resolution of the claim

requires such a comparative analysis.


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     43.   Of course, it was impossible for the CCA to conduct a

comparative analysis, because the record did not include copies of the

juror cards and questionnaires. It is not disputed that the CCA did not

use these items to compare these excluded jurors from the jurors

accepted by the State.

     44.   In Miller-El II, the Supreme Court made clear that the

analysis conducted by the CCA was not sufficient. Miller-El requires

the Court to consider a comparative juror analysis in its review of a

Batson claim. Miller-El II, 545 U.S. at 241.

     45.   In Miller-El II, the Court relied upon statistics gathered of

how many of the eligible African-American venire members had been

peremptorily challenged by the prosecution and side-by-side

comparisons of black venire panelists who were struck against white

panelists allowed to serve. Id.

     46.   The Court of Appeals for the Fifth Circuit has made clear

that a person raising a Batson claim should include the comparative

juror analysis required by Miller-El II. United States v. Guerra-Marez,

928 F.2d 665, 673 n. 9 (5th Cir. 1991).




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     47.   Additionally, the court of appeals has made clear that it is

incumbent upon courts to conduct this type of analysis regardless of

whether it is presented by a habeas petitioner. Reed v. Quarterman, 555

F.3d 364, 372-73 (5th Cir. 2009) (“We recently agreed that Miller-El II

requires us to consider a ‘comparative juror analysis’ in a Batson

claim.”). Of course, in order for a court to conduct this analysis, the

materials required to conduct the analysis must be contained in the

record.

     48.   In light of Miller-El II and the analysis it requires, it is

simply not possible to properly analyze a Batson claim without the juror

questionnaires and cards. See, e.g., Jasper v. Thaler, 765 F. Supp. 2d

783, 816 n. 62 (W.D. Tex. 2011) (“A legitimate comparison of the

prosecution’s allegedly disparate treatment of the venire members

would necessarily include review of the entire juror questionnaires to

ascertain if, in fact, the venire members allegedly treated differently by

the prosecution were, in fact, similarly situated. Such a review is not

possible in this case because neither party has furnished this Court

with the juror questionnaires.”).




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     49.   This Court was not able to conduct the analysis required by

Miller-El II when it previously considered the merits of Rhoades’ Batson

claim because the juror questionnaires and juror cards necessary to

conduct this review were not included in the records, through no fault of

Rhoades.

Claim for relief: Judge Martinez violated Rhoades’ right to due
process and equal protection by denying him what he is due
under article 35.29 and what other similarly situated
individuals have received: a decision on whether he
demonstrated good cause for the disclosure of juror
information.

     50.   Plaintiff Rhoades realleges and incorporates herein by

reference the allegations contained in all the preceding paragraphs of

this Complaint.

     51.   Rhoades has a due process right to materials necessary to

conduct the analysis fundamental to developing a Batson claim. See

Boyd v. Newland, 467 F.3d 1139, 1150 (9th Cir. 2006) (“Because we hold

that, under the clearly established Supreme Court precedent of Batson,

comparative juror analysis is an important tool that courts should

utilize on appeal when accessing a defendant’s plausible Batson claim,

we must also conclude that all defendants . . . have a right to have

access to the tools which would enable them to develop their plausible


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Batson claims through comparative juror analysis.”); see also Ayala v.

Wong, 756 F.3d 656, 671 n.10 (9th Cir. 2014), rev’d by Davis v. Ayala,

576 U.S. 25 (2015) (“If our dissenting colleague believes that jury

questionnaires are not tools for comparative juror analysis, we point her

to” Miller-El II.)

      52.   Indeed, the Texas law contained in Article 35.29 of the Texas

Code of Criminal Procedure recognizes that these materials are

necessary to develop habeas claims for defendants sentenced to death in

Texas and provides a means for obtaining them. See Tex. Code Crim.

Proc. art. 35.29(c) (“The defense counsel may disclose information . . . to

successor counsel representing the same defendant in a proceeding

under Article 11.071 without application to the court or a showing of

good cause.”).

      53.   When the Texas Legislature enacted Article 35.29 of the

Code of Criminal Procedure in 1993, the legislature gave defendants

like Rhoades a state-created right to a process by which they could

obtain access to juror information. Act of May 22, 1993, 73d Leg., R.S.,

ch. 371, § 1 (codified at Tex. Code Crim. Proc. art. 35.29). Since that

time, numerous individuals have filed motions pursuant to article



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35.29, which motions have been ruled on by the trial courts. Numerous

others have sought relief from decisions of the trial courts by filing

mandamus petitions in the courts of appeals.

      54.   In 2013, the legislature amended the statute in a way that

recognized the need for this process to proceed expeditiously in the

cases of individuals who have been sentenced to death.1 S. Comm. on

Crim. Justice, Bill Analysis, Tex. S.B. 270, 83d Leg., R.S. (2013) (“In

post-conviction capital defense cases, post-conviction counsel must

apply to the trial court for access to juror information. This process

takes anywhere from one to two months on average and costs time and

resources to the state.”).

      55.   The state-created right contained in article 35.29 invests

Rhoades with a liberty interest in demonstrating the infirmity of his

conviction using the information contained in the juror information at

issue in this case. Although his right to the juror information under the

statute is not absolute (because he must demonstrate good cause to

earn its disclosure), his right to due process and equal protection does



      1 The 2013 amendment added subsection (c) which permits trial defense
counsel to provide juror information to successor defense counsel without
application to the court.

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absolutely require that the trial court determine whether he has, in

fact, demonstrated good cause.

     56.   As the Supreme Court announced in Connecticut Board of

Pardons v. Dumschat, 452 U.S. 458 (1981), and reiterated in District

Attorney’s Office v. Osborne, 447 U.S. 52 (2009), a “state-created right

can, in some circumstances, beget yet other rights to procedures

essential to the realization of the parent right.” Osborne, 557 U.S. at 68

(quoting Dumschat, 452 U.S. at 463).

     57.   If the trial court were to enter an order finding Rhoades had

not demonstrated good cause for disclosure of the juror information,

Rhoades could then appeal that decision to the CCA through a petition

for a writ of mandamus. See Falcon, 879 S.W.2d at 250. Judge

Martinez’s refusing to decide whether Rhoades has demonstrated good

cause (coupled with the CCA’s refusing to require her to issue such a

decision), however, has left Rhoades with no means by which to further

pursue access to this juror information in the state courts.

     58.   This Court should find that Rhoades has a due process

and/or equal protection right to the process mandated by article 35.29

and that Judge Martinez’s action in denying him that process by



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refusing to issue a decision on the merits of his motion has violated his

rights under the Fourteenth Amendment. Judge Martinez has deprived

Rhoades of his liberty interest in utilizing state procedures to obtain a

reversal of his conviction.

                              Prayer for relief

     WHEREFORE, Mr. Rhoades prays that the Court provide relief as

follows:

     59.   Issue a declaratory judgment that Rhoades is entitled to a

decision on whether he has demonstrated good cause for access to the

juror information; and/or, alternatively,

     60.   Issue a declaratory judgment that Rhoades is entitled to

access materials essential to determining whether his rights under

Batson were violated at his trial; and

     61.   Award Rhoades costs of suit and such other and further

relief as this Court deems just and proper.




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                        Respectfully submitted,


         /s/ David R. Dow                     /s/ Jeffrey R. Newberry
   _________________________                _________________________
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                               Verification

      I, Jeffrey R. Newberry, attorney for Mr. Rhoades in the above-
entitled action, state that to the best of my knowledge and belief, the
facts set forth in this Complaint are true.

      I declare under penalty of perjury that the foregoing is true and
correct. Executed on July 26, 2021.

                                               /s/ Jeffrey R. Newberry
                                               _______________________
                                               Jeffrey R. Newberry

                         Certificate of Service

     I certify that a true and correct copy of the foregoing Complaint
was served on Defendant via an email sent to
Ana_Martinez@justex.net.

                                               /s/ Jeffrey R. Newberry
                                               ______________________
                                               Jeffrey R. Newberry




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